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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA


                                                 ) Case No.: 1:96-cr-05059-002 LJO
United States of America,                        )
                                                 )
               Plaintiff,                        )
                                                 )
       vs.                                       )
                                                 )
Warren Lee Underwood,                            )
                                                 )
               Defendant                         )
                                             ORDER
       In consideration of the foregoing Motion to Unseal and Disclose Pre-Sentence
Investigative Report to Clemency Project 2014 Counsel, there being good cause shown, it is this
26th day of January, 2016 hereby
       ORDERED that the Motion to Unseal and Disclose Pre-Sentence Investigative Report to
Clemency Project 2014 Counsel is GRANTED; and it is further
       ORDERED that a copy of the Pre-Sentence Investigative Report shall be unsealed and
provided to the Defendant's Clemency Project 2014 counsel; and it is further
       ORDERED that the Pre-Sentence Investigative Report shall not be provided to the
Defendant; and it is further
       ORDERED that at the conclusion of the representation by Clemency Project 2014
counsel, such counsel shall return all copies of the Pre-Sentence Investigative Report to the
Bureau of Prisons or shall destroy all copies.


IT IS SO ORDERED.

   Dated:     January 26, 2016                         /s/ Lawrence J. O’Neill
                                                   UNITED STATES DISTRICT JUDGE
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